                               GEORGE M. REIBER
                                  CHAPTER 13 TRUSTEE
                                  SOUTH WINTON COURT
                                3136 SOUTH WINTON ROAD
                               ROCHESTER, NEW YORK 14623




                                                March 18, 2019


U.S. Bankruptcy Court
100 State Street
Rochester, NY 14614

       Re: Jacob P LoTurco
           Chapter 13 Case No.: 19-20083-PRW
           Motion to Dismiss filed March 11, 2019 (ECF No. 24)
           Returnable: March 28, 2019 at 10:00am

To All Parties Concerned:

        Please be advised that I hereby withdraw my Motion to Dismiss Case for Failure
to File Required Documents under §521(i)(1) in the above case. The debtor has filed the
necessary documents.

       If you have any questions, do not hesitate to contact me.




                                                    Very truly yours,


                                             /s/________________________
                                                 George M. Reiber,
                                                 Chapter 13 Trustee



GMR/hah
xc:  Jacob LoTurco
     David Ealy, Esq.
     U.S. Trustee’s Office




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